                                   EXHIBIT
        Case 1:21-cv-00445-CJN Document 78-1 FiledI10/07/21 Page 1 of 15




                                     October 1, 2021


VIA EMAL
Stephen Shackelford, Jr., Esq.
SShackelford@susmangodfrey.com
Laranda Walker, Esq.
LWalker@susmangodfrey.com
Katie Sammons, Esq.
KSAMMONS@SusmanGodfrey.com

       RE:      US Dominion, Inc., et al. v. My Pillow, Inc., et al.
                Court File No.: 1:21-cv-00445-CJN

Dear Counsel:
       This letter responds to the emails between counsel regarding MyPillow’s
purported obligation to Answer and the timing of a meet and confer to set a
discovery schedule. Copies of those emails are attached as Exhibits A and B.
       Answer
                                                                                       ANDREW D. PARKER
         You have asserted that MyPillow’s failure to file an Answer to
                                                                                       CHRISTOPHER M. DANIELS
Dominion’s Complaint on September 24 is “not permitted under the rules” and
                                                                                       JESSE H. KIBORT
that if we do not file an Answer “within 7 days,” you will consider our clients “to
                                                                                       RUSSELL M. “MICK” SPENCE
be in default.”
                                                                                       ELIZABETH S. WRIGHT
        MyPillow and Mr. Lindell each filed, on September 23 and 24, 2021,             ALEC J. BECK
respectively, a “Notice in Lieu of Filing Answer,” setting forth the reason why no     LORI A. JOHNSON
Answer was filed by either defendant on September 24. (Doc Nos. 74 & 75). That         JOSEPH A. PULL
reason will endure until there is a resolution of the current appeal processes filed   RYAN P. MALONE
by MyPillow and Mr. Lindell.                                                           JORDON A. GREENLEE
                                                                                       ABRAHAM S. KAPLAN
        (1)     Both MyPillow and Mr. Lindell filed Motions for certification
                                                                                       JUSTIN S. BOSCHWITZ
under 28 U.S.C. 1292(b) of an interlocutory appeal of the denial of their Motions
To Dismiss. (Doc Nos. 58 & 59). Judge Nichols entered an order prescribing dates       FREDERICK C. BROWN
                                                                                        OF COUNSEL
for the filing of an Opposition to the Motions and for the defendants’ Replies to
the Opposition. (Minute Order, September 2, 2021). While Judge Nichols has the
                                                                                       888 Colwell Building
Motions for Certification, the Opposition, and the Replies under advisement, the       123 Third Street North
Notices correctly recite that it would be premature for MyPillow to file an Answer.    Minneapolis, MN 55401

                                                                                       parkerdk.com

                                                                                       Tel: 612.355.4100
                                                                                       Fax: 612.355.4101
        Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 2 of 15


                                                                                     October 1, 2021
                                                                                              Page 2




        The Notices declare that notwithstanding this prematurity, MyPillow and Mr. Lindell “will
file an Answer if” Judge Nichols so orders. Consequently, Dominion cannot seriously claim that
MyPillow is “in default” if they fail to file an Answer “within 7 days”. The case law is clear, “[f]or
default judgment, defendant must be considered a totally unresponsive party, and its default plainly
willful, reflected by its failure to respond to the summons and complaint, the entry of default, or
the motion for default judgment.” Int'l Painters & Allied Trades Indus. Pension Fund v. Auxier
Drywall, LLC, 531 F. Supp. 2d 56, 57 (D.D.C. 2008) (internal quotations omitted). See also Asia
N. Am. Eastbound Rate Agreement v. BJI Indus., Inc., 900 F. Supp. 507, 511 (D.D.C. 1995),
supplemented, 923 F. Supp. 4 (D.D.C. 1996) (“default judgment must normally be viewed as
available only when the adversary process has been halted because of an essentially unresponsive
party”).
        (2)     Both My Pillow and Mr. Lindell also filed on September 9, 2021, Notices of Appeal
under 28 U.S.C. 1291. (Doc Nos. 64 & 66). The Notices of Appeal state that the District Court’s
denial of their Motions To Dismiss are “collateral orders” that are immediately appealable under
28 U.S.C. 1291. The Court of Appeals has docketed the appeal and set an appellate schedule.
       Ms. Walker’s email of September 30, 2021, cites two cases to support her conclusion,
stated in a footnote to Dominion’s Opposition to MyPillow’s Motion for Certification, that an
immediate appeal is “frivolous.” The cases cited are inapposite.
        The majority opinion in New York Times v. Sullivan, 376 U.S. 254 (1964), described the
First Amendment right that the decision secured as a “privilege for criticism of official conduct,”
“the privilege for the citizen-critic of government,” and other related privilege. 376 U.S. at 282 &
n. 21 (emphasis added). The opinion recognized this “privilege” as “a fair equivalent of the
immunity granted to the officials themselves.” 376 U.S. at 283 (emphasis added). The denial of a
motion to dismiss a defamation lawsuit abridging this “privilege” and “immunity” is the legal
equivalent of a denial of absolute or qualified immunity, which is immediately appealable under
28 U.S.C. 1291.
        The Notices of Appeal filed by MyPillow and Mr. Lindell cited, in addition to the landmark
Supreme Court opinion in Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541, 546 (1949),
two cases that recognized immediate appellate jurisdiction over otherwise early interlocutory
rulings rejecting immunity defenses. The Supreme Court’s decision in Mitchell v. Forsyth, 472
U.S. 511, 524-530 (1985), and the decision of the United States Court of Appeals for the District
of Columbia Circuit in Meredith v. Federal Mine Safety and Health Review Commission, 177 F.3d
1042, 1048-1052 (D.C. Cir. 1999), both support immediate appellate jurisdiction over a “collateral
order” denying the privilege and immunity recognized in New York Times v. Sullivan.
        Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 3 of 15


                                                                                    October 1, 2021
                                                                                             Page 3




        There is, therefore, no substance to the repeated declarations made that an appeal in this
case at this juncture is “frivolous.” Dominion’s cited cases do not concern appeals of district-court
denials of absolute or qualified immunity and do not address the basis for MyPillow’s 1291 appeal.
       Meet and Confer
        Finally, Dominion’s suggestion that MyPillow join “a group to discuss discovery
coordination and a joint scheduling order” is oblivious of the different procedural stages of our
case compared to the other cases. Although Judge Nichols considered the cases together for the
purpose of the Motions To Dismiss, only MyPillow and Mr. Lindell are seeking immediate
appellate review pursuant to New York Times v. Sullivan. While the MyPillow lawsuit is on appeal
certain other cases have not yet even filed a responsive pleading, while other cases have fully
Answered.
        Only in Dominion v. Giuliani was there a “Joint Meet and Confer Report” which Judge
Nichols reviewed. Following this review, Judge Nichols ordered an “updated Joint Meet and
Confer Report” after the “parties in all related cases have had the opportunity to discuss a Joint
Scheduling Order.” MyPillow has not had an opportunity to present its position to the Court
regarding consolidated discovery. No order has been issued in the Dominion v. MyPillow lawsuit
requiring a meet and confer or consolidating the schedule for discovery. It is not the appropriate
time for a meet and confer that includes MyPillow and we do not believe that Judge Nichols has
ordered that in this case. My Pillow will take the opportunity to discuss these matters and present
its opposition to consolidation should it still be required once the appeal process is completed.
        Again, we suggest that we jointly request a status conference with the Court to provide our
positions on these issues and get the court’s direction regarding the disputed matters. Please advise
if you wish to proceed with such a request.



                                                      Sincerely,

                                                      /s/ Andrew D. Parker

                                                      Andrew D. Parker


ADP/jlt
Enclosures
Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 4 of 15




                       EXHIBIT A
               Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 5 of 15




From: Laranda Walker <LWalker@susmangodfrey.com>
Sent: Tuesday, September 28, 2021 11:52 AM
To: Andrew Parker <parker@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>; Justin A. Nelson <jnelson@SusmanGodfrey.com>;
Davida Brook <DBrook@susmangodfrey.com>; Tom Clare <tom@clarelocke.com>; Megan Meier
<megan@clarelocke.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Brooke Behrens
<BBehrens@susmangodfrey.com>; Katie Sammons <KSAMMONS@SusmanGodfrey.com>; Florence Chen
<FChen@susmangodfrey.com>
Subject: Dominion v. MyPillow, et al: Defendants' Answer

Andrew and Doug:

MyPillow and Mr. Lindell failed to answer Dominion’s complaint on September 24. This is not
permitted under the rules. Please file an answer within 7 days, or we will consider your clients to be
in default.

In the meantime, we will include you on separate email correspondence with counsel for Mr. Giuliani
and Ms. Powell where, in accordance with Judge Nichol’s September 27 order in the Giuliani case
(attached), we are trying to convene a group to discuss discovery coordination and a joint scheduling
order.

Thanks,
Laranda

Laranda Moffett Walker
Susman Godfrey LLP
1000 Louisiana St. | Suite 5100 | Houston, Texas 77002
HOUSTON • LOS ANGELES • SEATTLE • NEW YORK
Office: 713.653.7842
Mobile: 225.485.4533

Susman Godfrey 2019 Year in Review




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                                                                                                   Exhibit A-1
                    Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 6 of 15




From: Andrew Parker
Sent: Wednesday, September 29, 2021 9:56 AM
To: Laranda Walker <LWalker@susmangodfrey.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>; Justin A. Nelson <jnelson@SusmanGodfrey.com>;
Davida Brook <DBrook@susmangodfrey.com>; Tom Clare <tom@clarelocke.com>; Megan Meier
<megan@clarelocke.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Brooke Behrens
<BBehrens@susmangodfrey.com>; Katie Sammons <KSAMMONS@SusmanGodfrey.com>; Florence Chen
<FChen@susmangodfrey.com>
Subject: RE: Dominion v. MyPillow, et al: Defendants' Answer

Laranda,

This is in response to your email below sent yesterday. As indicated in our Notice in lieu of Answer, no Answer was filed
in this case because the matter is on appeal to the DC Circuit Court of Appeals (Circuit Case No. 21‐7103, Doc. #1914267)
which affects the entirety of this case and an Answer is not appropriate at this time. The matter has been docketed at
the Court of Appeals and an order setting a schedule has been issued by the Court of Appeals. “The filing of a notice of
appeal is an event of jurisdictional significance—it confers jurisdiction on the court of appeals and divests the district
court of its control over those aspects of the case involved in the appeal.” Price v. Dunn, 139 S. Ct. 1533, 1537, 204 L. Ed.
2d 238, 242, 2019 U.S. LEXIS 3401, *10 (quoting Griggs v. Provident Consumer Discount Co., 459 U. S. 56, 58, 103 S. Ct.
400, 74 L. Ed. 2d 225 (1982)). See also Bombardier Corp. v. Amtrak, 2002 U.S. App. LEXIS 25858, *2, 2002 WL 31818924.
There has been no ruling which would revest jurisdiction in the District Court.

Your assertion that MyPillow is, or in seven days will be, in default is specious. MyPillow has and continues to defend
against the claims in this case. Rule 55 provides that a default judgment is appropriate when a defendant “has failed to
plead or otherwise defend…” Fed. R. Civ. P. 55(a). MyPillow has briefed and presented oral argument on a motion to
dismiss and has sought an appeal to the D.C. Circuit Court of Appeals and has filed a Notice in lieu of Answer with the
District Court. Any suggestion that MyPillow has failed to plead or defend against Dominion’s lawsuit is inaccurate and
improper. No Answer to the complaint is required at this time. Neither your demand nor directive changes that. We
are certainly not waiving our right to Answer, if necessary, at the appropriate time.

Thank you, Andrew Parker




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                                                                          1

                                                                                                                                     Exhibit A-2
                    Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 7 of 15
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               Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 8 of 15




From: Laranda Walker <LWalker@susmangodfrey.com>
Sent: Thursday, September 30, 2021 10:34 AM
To: Douglas A. Daniels <doug.daniels@dtlawyers.com>; Andrew Parker <parker@parkerdk.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>; Justin A. Nelson <jnelson@SusmanGodfrey.com>;
Davida Brook <DBrook@susmangodfrey.com>; Tom Clare <tom@clarelocke.com>; Megan Meier
<megan@clarelocke.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Brooke Behrens
<BBehrens@susmangodfrey.com>; Katie Sammons <KSAMMONS@SusmanGodfrey.com>; Florence Chen
<FChen@susmangodfrey.com>; Heath A. Novosad <heath@dtlawyers.com>
Subject: Re: Dominion v. MyPillow, et al: Defendants' Answer

Andrew and Doug,

Thank you for your emails. We disagree with your assertion that the District Court lacks jurisdiction. A
notice of appeal from a nonappealable order—in this case, Judge Nichol’s order denying Defendants’
motions to dismiss—does not deprive the district court of jurisdiction. See, e.g., Robertson v.
Cartinhour, 691 F. Supp. 2d 65, 75 (D.D.C. 2010) (“[I]t is well‐settled that neither a denial of a motion
for summary judgment nor a denial of a motion to dismiss are considered ‘final orders’ that are
appealable under § 1291.“); McKesson HBOC, Inc. v. Islamic Republic of Iran, 315 F. Supp. 2d 63, 66
(D.D.C. 2004) (“It is settled that a notice of appeal from an unappealable order does not divest the
district court of jurisdiction.”). Notwithstanding your clients’ refusal to participate, we will meet and
confer with counsel for the Giuliani and Powell defendants and work towards a joint scheduling order,
as instructed by Judge Nichols, without your input. If we reach agreement, we will ask the Court to
enter the scheduling order in all three cases.

Thanks,
Laranda




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                                                                                                 Exhibit A-3
Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 9 of 15




                       EXHIBIT B
               Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 10 of 15




From: Stephen Shackelford <SShackelford@susmangodfrey.com>
Sent: Thursday, September 16, 2021 12:24 PM
To: Howard Kleinhendler <howard@kleinhendler.com>; Jesse Binnall <jesse@binnall.com>; Lawrence J. Joseph
<ljoseph@larryjoseph.com>; Abraham Kaplan <kaplan@parkerdk.com>; Andrew Parker <parker@parkerdk.com>;
Douglas A. Daniels <doug.daniels@dtlawyers.com>; Earl N. Mayfield, III <tmayfield@jurisday.com>; Elizabeth Wright
<wright@parkerdk.com>; Greg Arenson <arenson@parkerdk.com>; Heath Novosad <heath.novosad@dtlawyers.com>;
Joe Pull <Pull@parkerdk.com>; Nathan Lewin <nat@lewinlewin.com>; Ryan Malone <Malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke Dominion Team
<dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: Dominion cases ‐ discovery plan and scheduling

Counsel—the Court has ordered Dominion and Mr. Giuliani to file a discovery plan and proposed schedule under LR
16.3(d) by tomorrow, September 17. We have been meeting and conferring with Mr. Sibley, and we have determined
that we should include you all in these discussions, to coordinate discovery among these three cases. Please let us know
your availability to meet and confer on a discovery plan and schedule next week. Thanks.

‐‐Stephen




                                                           1


                                                                                                            Exhibit B-1
                   Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 11 of 15




From: Andrew Parker <parker@parkerdk.com>
Sent: Friday, September 17, 2021 4:26 PM
To: Stephen Shackelford <SShackelford@susmangodfrey.com>; Howard Kleinhendler <howard@kleinhendler.com>;
Jesse Binnall <jesse@binnall.com>; Lawrence J. Joseph <ljoseph@larryjoseph.com>; Abraham Kaplan
<kaplan@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>; Earl N. Mayfield, III
<tmayfield@jurisday.com>; Heath Novosad <heath.novosad@dtlawyers.com>; Joe Pull <Pull@parkerdk.com>; Nathan
Lewin <nat@lewinlewin.com>; Ryan Malone <Malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke Dominion Team
<dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: RE: Dominion cases ‐ discovery plan and scheduling

Stephen,

In light of our appeal to the DC Circuit Court of Appeals, My Pillow does not intend to coordinate a discovery schedule in
the underlying case at this time.
Beyond that, My Pillow reserves all rights.

Thank you, ADP




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                                                                                                                                      Exhibit B-2
                Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 12 of 15




From: Stephen Shackelford <SShackelford@susmangodfrey.com>
Sent: Tuesday, September 28, 2021 12:30 PM
To: Howard Kleinhendler <howard@kleinhendler.com>; Jesse Binnall <jesse@binnall.com>; Lawrence J. Joseph
<ljoseph@larryjoseph.com>; Abraham Kaplan <kaplan@parkerdk.com>; Andrew Parker <parker@parkerdk.com>;
Douglas A. Daniels <doug.daniels@dtlawyers.com>; Earl N. Mayfield, III <tmayfield@jurisday.com>; Elizabeth Wright
<wright@parkerdk.com>; Greg Arenson <arenson@parkerdk.com>; Heath Novosad <heath.novosad@dtlawyers.com>;
Joe Pull <Pull@parkerdk.com>; Nathan Lewin <nat@lewinlewin.com>; Ryan Malone <Malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke Dominion Team
<dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: RE: Dominion cases ‐ discovery plan and scheduling

Hello all—can counsel for the Powell Defendants, Mr. Lindell, MyPillow, and Mr. Giuliani all please let us know your
availability next week for the meet and confer discussed below? Attached is the latest order from Judge Nichols, which
he issued in the Giuliani litigation, and which clearly indicates he expects us all to confer about a joint scheduling order.
Please let us know days and time windows that work, so we can coordinate it. Thanks.

‐‐Stephen




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                                                                                                               Exhibit B-3
                Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 13 of 15




From: Andrew Parker <parker@parkerdk.com>
Sent: Wednesday, September 29, 2021 2:52 PM
To: Douglas A. Daniels <doug.daniels@dtlawyers.com>; Stephen Shackelford <SShackelford@susmangodfrey.com>;
Howard Kleinhendler <howard@kleinhendler.com>; Jesse Binnall <jesse@binnall.com>; Lawrence J. Joseph
<ljoseph@larryjoseph.com>; Abraham Kaplan <kaplan@parkerdk.com>; Earl N. Mayfield, III <tmayfield@jurisday.com>;
Heath A. Novosad <heath@dtlawyers.com>; Joe Pull <Pull@parkerdk.com>; Nathan Lewin <nat@lewinlewin.com>; Ryan
Malone <Malone@parkerdk.com>
Cc: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; Clare Locke Dominion Team
<dominion@clarelocke.com>; Joe Sibley <sibley@camarasibley.com>
Subject: RE: Dominion cases ‐ discovery plan and scheduling


Stephen,

Thank you for your email below sent yesterday afternoon. The chain also includes your email from September 16 on the
same subject. I have attached my response to your email of September 16 for ease of reference. MyPillow’s position
remains the same. In light of the appeal status of this case, proceeding to a discovery schedule at this time is
premature. Jurisdiction in this case is currently at the Court of Appeals.

MyPillow has not and does not agree to consolidate Dominion’s lawsuit against MyPillow with Dominion’s lawsuits
against Giuliani, Powell, Byrne, and/or One America News, so it will not be productive to discuss a joint scheduling order
during a conference with those parties, particularly since the My Pillow lawsuit is currently on appeal while the other
cases are not. We will certainly follow an applicable court order to the contrary and will present argument on these
issues, if necessary, at the appropriate time. As you note in your email, the order to meet and confer was issued in the
Giuliani litigation, to which MyPillow is not a party.

Without waiving any jurisdictional issue, if you wish to jointly request a status conference with Judge Nichols to discuss
these and related issues, please let me know.

Andrew




                                                             1

                                                                                                                 Exhibit B-4
                   Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 14 of 15
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                                                                          2
               Case 1:21-cv-00445-CJN Document 78-1 Filed 10/07/21 Page 15 of 15




From: Katie Sammons <KSAMMONS@SusmanGodfrey.com>
Sent: Thursday, September 30, 2021 10:29 AM
To: Jesse Binnall <jesse@binnall.com>; Lawrence J. Joseph <ljoseph@larryjoseph.com>; Abraham Kaplan
<kaplan@parkerdk.com>; Andrew Parker <parker@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>;
Earl N. Mayfield, III <tmayfield@jurisday.com>; Elizabeth Wright <wright@parkerdk.com>; Greg Arenson
<arenson@parkerdk.com>; heath.novosad@dtlawyers.com; Joe Pull <Pull@parkerdk.com>; Nathan Lewin
<nat@lewinlewin.com>; Ryan Malone <Malone@parkerdk.com>; Joseph D. Sibley IV <sibley@camarasibley.com>
Cc: Stephen Shackelford <SShackelford@susmangodfrey.com>; Justin A. Nelson <jnelson@SusmanGodfrey.com>;
Laranda Walker <LWalker@susmangodfrey.com>; Florence Chen <FChen@susmangodfrey.com>; Dominion ClareLocke
<dominion@clarelocke.com>
Subject: Dominion Cases‐‐Discovery Plan and Scheduling

Based on the responses we’ve received, we suggest convening by zoom at 4:00
p.m. eastern on Thursday, October 7 to discuss the Joint Discovery Plan. We’re
happy to send a zoom invite to anyone who plans to participate. Just let us know
who to send it to. Thanks.

Katie Sammons I Partner I Susman Godfrey LLP
o 713.653.7864 I c 713.515.0745
ksammons@susmangodfrey.com

Houston I New York I Los Angeles I Seattle

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                                                                                               Exhibit B-5
